Case 2:06-cr-00124-LRS   ECF No. 338   filed 06/09/08   PageID.1959 Page 1 of 6
Case 2:06-cr-00124-LRS   ECF No. 338   filed 06/09/08   PageID.1960 Page 2 of 6
Case 2:06-cr-00124-LRS   ECF No. 338   filed 06/09/08   PageID.1961 Page 3 of 6
Case 2:06-cr-00124-LRS   ECF No. 338   filed 06/09/08   PageID.1962 Page 4 of 6
Case 2:06-cr-00124-LRS   ECF No. 338   filed 06/09/08   PageID.1963 Page 5 of 6
Case 2:06-cr-00124-LRS   ECF No. 338   filed 06/09/08   PageID.1964 Page 6 of 6
